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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

  ANNETTE PADGETT,                            )
                                              )
                            Plaintiff,        )
                                              )
                  vs.                         )       No. 1:21-cv-00196-JMS-DLP
                                              )
  ANONYMOUS, DNP, APRN-BC,                    )
  ANONYMOUS, MSW,                             )
  ANONYMOUS INTERN,                           )
  ANONYMOUS SERVICES CORP., and               )
  UNITED STATES OF AMERICA,                   )
                                              )
                            Defendants.       )

                                     AGREED JUDGMENT

       Pursuant to the United States of America's Notice of Substitution, [Filing No. 3], the

 Clerk is DIRECTED to TERMINATE the individual Defendants: Anonymous, DNP, APRN-

 BC; Anonymous, MSW; Anonymous Intern, and Anonymous Services Corp. Having granted

 the United States of America's Motion for Summary Judgment, the Court now enters FINAL

 JUDGMENT and DISMISSES this action WITHOUT PREJUDICE.




          Date: 3/11/2021




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